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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                     )
                                                     )
CORINNE OMWENGA                                      )
                                                     )
                 Plaintiff,                          )
                                                     )      Case No. 1:15-cv-00786 (TSC)
        v.                                           )
                                                     )
UNITED NATIONS FOUNDATION                            )
                                                     )
                                                     )
                 Defendant.                          )
                                                     )

   CONSENT MOTION FOR LEAVE TO FILE A REPLACEMENT DECLARATION

        Defendant United Nations Foundation (“UNF”), by and through undersigned counsel,

respectfully files this Consent Motion for Leave to File a Replacement Declaration (“Motion”).

In support of the Motion, UNF states as follows:

        1.       On March 29, 2018, UNF filed its Motion for Summary Judgment (“MSJ”) in this

case.

        2.       In connection with the MSJ, UNF submitted as Exhibit 31 thereto a declaration

from Koki Hurley. Unfortunately, Ms. Hurley was in a remote location at the time of filing and

was unable to send to undersigned counsel a signed copy of her declaration before the filing

deadline. On Ms. Hurley’s authority, undersigned counsel electronically signed the document on

Ms. Hurley’s behalf, with the understanding that Ms. Hurley would send the original signed

declaration to counsel as soon as she was able. Undersigned counsel included the electronically

signed declaration as Exhibit 31 to the MSJ.




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        3.       The next day (March 30), Ms. Hurley sent the signed declaration to counsel, who

filed it on April 2 as a replacement for the electronically signed Exhibit 31 to the MSJ. (ECF

#41, denominated as “Supplemental Memorandum”). On April 4, 2018, the Court ordered the

document stricken from the docket because UNF did not seek leave to file.

        4.       UNF now seeks leave of the Court to file the declaration, which is attached hereto

as Exhibit A. Counsel for Plaintiff has informed undersigned counsel that he does not oppose

this request.




                                              Respectfully submitted,
Dated: April 5, 2018

                                                         /s/ David Schur        ______
                                                      Deborah Kelly
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                                                      David Schur
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                                                      Counsel for Defendant




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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on 5th day of April 2018, the foregoing Consent Motion for
Leave to File a Replacement Declaration and the exhibit thereto, and Proposed Order were filed
electronically with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to:


                                    R. Scott Oswald
                                    Andrew Witko
                                    THE EMPLOYMENT LAW GROUP, P.C.
                                    888 – 17th Street, NW
                                    9th Floor
                                    Washington, DC 20006



                                              /s/ David Schur
                                            David Schur




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